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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )           8:09MJ141
                Plaintiff,              )
                                        )
   vs.                                  )                 ORDER
                                        )
CURTIS McCOY,                           )
                                        )
                Defendant.              )


   The court has been presented a Financial Affidavit (CJA Form 23)
signed by the above-named defendant in support of a request for appointed
counsel.   After a review of the Financial Affidavit, I find that the
above-named defendant is eligible for appointment of counsel pursuant to
the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal
Justice Act Plan for the District of Nebraska.
   IT IS ORDERED:

   Patrick R. Runge is appointed to represent the above named defendant
in this matter and shall forthwith file an appearance in this matter.

   IT IS FURTHER ORDERED that the Clerk shall provide a copy of this
order to the Federal Public Defender and Patrick R. Runge.

   DATED this 30th day of June, 2009.

                                        BY THE COURT:

                                        s/ Thomas D. Thalken
                                        United States Magistrate Judge
